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                          UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
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     ABDULKAREEM TAHER AHMED                    CASE NO. 21-cv-00296-GPC-MDD
11
     AL-SADEAI,
12                                              ORDER GRANTING
13                Petitioner,                   PETITIONER’S REQUEST TO
                                                ACCEPT LATE-FILED REPLY
14 v.
15                                              [ECF No. 4]
   U.S. IMMIGRATION AND
16
   CUSTOMS ENFORCEMENT; et al.,
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18           Respondents.

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20         Petitioner Abdulkareem Taher Ahmed Al-Sadeai has filed a request for the
21   Court to accept Petitioner’s late-filed reply brief. ECF No. 4.
22         The Court initially set a briefing schedule directing Petitioner to file any
23   reply on or before April 2, 2021. ECF No. 2. Petitioner filed his request for an
24   extension of time on May 6, 2021, stating that counsel had missed the filing
25   deadline due to confusion with the reply in Petitioner’s BIA appeal that was due
26   the same week. ECF Nos. 4; 4-1 (Declaration of Robert Ruano).
27         Upon a showing of good cause, the Court may extend time after the time for
28   filing has expired if the party failed to act within the time allotted because of


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 1   excusable neglect. Fed. R. Civ. P. 6(b)(1)(B); see also Wallace v. Heinze, 351
 2   F.2d 39, 40 (9th Cir. 1965) (in habeas corpus context, finding that courts possess
 3   inherent power to extend time). The Court finds that Petitioner has demonstrated
 4   good cause for the extension of time, and that the failure to file the reply brief by
 5   the time set by the Court’s briefing schedule was the result of excusable neglect.
 6   No response to the reply is permitted and no hearing in this case has been set, and
 7   thus the proceedings have not been adversely impacted by the delay and there is
 8   limited risk of prejudice to Respondents. Further, it appears that Petitioner’s
 9   counsel has acted in good faith.
10         The Court therefore ORDERS that the reply briefed filed at ECF No. 4-2 is
11   accepted as filed. Petitioner need not refile the reply brief.
12         IT IS SO ORDERED.
13   Dated: May 12, 2021
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